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DEBRA PRicE, ROBERT TucKER, } “’ D~ OF rw, 3.'§§;,§§§;€
AUBREY cARLlsLE, MARV|N l_. NUTT
and all similarly situated persons, }
Plaintiffs, }
v. } clvll_ AchoN
No. 03-2686-Ml/P
AcosTA, lNc., }
Defendant. }

 

ORDER ON PLA|NTIFFS’ MOT|ON
FOR LEAVE TO SEND NOTlCE OF COLLECT|VE ACT|ON
TO PUTAT|VE CLASS MEMBERS

 

Before the Court is Plaintiffs’ Motion for Leave to Send Notice of Co||ective
Action to Putative Class l\/|embers, filed on |Vlay 18, 2005. The Court has reviewed the
submissions and arguments of both parties, and conducted an oral telephone
conference with counsel on June 2, 2005, Wherein counsel for both parties agreed to
modifications The Court believes the Order attached hereto as an exhibit is both
reasonable and appropriatel

lT lS, THEREFORE, ORDERED that the Notice attached hereto, along With the
accompanying Consent to Become Party P|aintiff form, shall be sent to those
individuals identified by the parties as members ofthe prospective class in this

collective action.

Th!s document entered on the docket heat in cgrnpiianr'e /
with Flule 58 and/or 79(a) FFiCF' on ' d

    

Case 2:03-cv-02686-.]Pl\/|-tmp Document 79 Filed 06/03/05 Page 2 of 5 PagelD 87

lT is so oRDERED, this g day of.lune, 2005.

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JO P. lVlcCALLA
U lted States District Judge

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WESTERN DlSTR|CT OF TENNESSEE - WESTERN DlV|S|ON

 

DEBRA PR|CE, ROBERT TUCKER, }
ALJBREY CARL|SLE, MARV|N L. NUTT
and all similarly situated persons, }

Plaintiffs, }
v. } ClV|L ACTlON

NO. 03-2686 MI/P

ACOSTA, lNC., }

Defendant. }

 

NOT|CE OF R|GHT TO JO|N COLLECT|VE ACT|ON
FOR UNPA|D WAGES AND OVERT[ME PAY

TO: Certain present and former employees of Acosta, |nc.

The purpose of this Notice, which has been approved by the Court, is to advise you of a lawsuit brought
by certain former employees of Acosta, |nc. ln this |awsuit, these plaintiffs are claiming that they and other
Acosta employees in each of Acosta’s geographic Regions were not paid for all hours actually workedl and
were required to turn in time sheets showing only 40 hours a week (32 hours a week for part-time
employees), regardless of the number of hours actually worked, in violation of federal |aw. The Plaintiffs
are also claiming that Acosta failed to pay time and one-half (overtime pay), as required by federal |aw,
for all hours worked over 40 in any work week. Acosta denies the allegations.

WHO MAY PART|C|PATE lN THlS LAWSU|T. if you have worked for Acosta in either a full-time or part-
time capacity in any of the following iob titles during any time period since September 12, 2000, and
believe that you have worked hours for which you were not paid, or worked hours over 40 in a week for
which you were not paid one and one-half times your regular hourly rate, then you are entitled to join in
this lawsuit to recover unpaid wages and/or unpaid overtime pay. lf you join the lawsuit, you may also be
entitled to recover an additional amount equal to your total unpaid wages and overtime pay as “|iquidated
damages” as provided by federal law. The job titles included in this lawsuit are:

(1) Territory l\/lanager/Reset; (2) Senior Territory lVlanager/Reset;
(3) Territory Manager; (4) Senior Territory Manager;
(5) Retail Coverage l'vlerchandiser; (6) Dedicated Retail Coverage lV|erchandiser;

(7) Store Reset Specialist; (8) Store Reset Coordinator;
(9) Retail Sales Representative; (10) Category Sa|es Representative

DETERM|N|NG EL|GlB|LlTY AND COMPENSABLE HOURS. All of the above job titles (with the
exception of the Category Sales Representative) are “non-exempt” positions under the Fair Labor
Standards Act. This means that if you held one of these positions then you should have been paid for all
hours actually worked, even if all of those hours were not recorded on your time sheets. Under Acosta’s
written policy and federal |aw, you should have been paid for all hours actually spent doing any work for
Acosta, including:

- all travel time beyond the initial commute from home to and from work sites that

exceeds one hour each way;

- all travel between stores to perform work for Acosta;

- ali work time in the stores; and

- all work hoursl regardless of where or when incurred, including but not limited to

administrative paper work and telephone work conducted at the office, stores, or home.

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all those hours you actually worked up to 40 hours at your regular hourly rate. For all hours you worked
over 40 hours a week, you may be entitled to be paid an overtime premium of one and a half times your
hourly rate. The Court will determine the time period during which each person is eligible to recover unpaid
wages and overtime pay, but the law generally allows for recovery going back two years from the date a
person files the enclosed Consent form (three years if the alleged violation is shown to have been “wil|ful”)

HOW TO JO|N TH|S LAWSU|T. lf you wish to join this suit, you must sign and date the enclosed
CONSENT TO BECOME PARTY PLA|NT|FF form and return it within thirty (30) days to the following
address:

NORWOOD, HOWARD & ATCHLEY

1407 Union Avenue, Suite 807

Memphis, TN 38104

(A pre-addressed, pre-paid return envelope is included with this Notice. Additional Consent forms may be
obtained from Norwood, Howard & Atchley, by calling (90‘|) 276-7676 or (800)356-8907).

EFFECT OF JO|N|NG TH|S LAWSU|T. lf you join this |awsuit, unless you also elect to retain your own
legal counse|, your interest will be represented by the Plaintiffs' attorneys, NORWOOD, HOWARD &
ATCHLEY, who have been designated by the Court as legal counsel for the class representatives who
are the named P|aintiffs. lf you join this lawsuit, you will be bound by any settlement orjudgment. You
Wi|| also be required to provide information regarding your work hours and hourly rate of pay. lt is also
possible that you may be required to give testimony regarding your work hours at some point. You will not
be required to pay any costs or attorney fees directly. |f you choose not to return the enciosed Consent
form, you will not be a participant in this lawsuit and will not be affected by the judgment or any settlement
You are free to file your own |awsuit, or take no action at all.

CLASS COUNSEL. The P|aintiffs‘ attorneys and attorneys for the class are:

NORWOOD, HOWARD & ATCHLE¥
1407 Union Avenue, Suite 807
Memphls, TN 38104

Tel: 901/276-7676 or 800/356-8907
Fax: 901/276-7212

E-Nlail: jatch|ey@nha|aw.com

RETAL|AT|ON PROH|B|TED

The law prohibits your employer from discriminating or retaliating against you for taking part in
this case. lf you believe you have been penalized, discriminated against, or in any way disciplined
or punished, or if you have been threatened or intimidated in any way as a result of your receipt
of this notice or election to participate in this lawsuit, you should immediately contact Norwood,
Howard & Atchley.

This Notice and its contents have been authorized by the United States District
Court, Hon. Jon Phipps McCalla, U.S. District Judge. The Court has taken no
position regarding the merits of the claims or defenses of the parties.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:03-CV-02686 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

essEE

 

Caronn Howard

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Robert D. Meyers

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1\/1emphis7 TN 38125

Kevin E. Hyde

FOLEY & LARDNER

200 Laura Street
Jacksonville, FL 32202--351

Honorable J on McCalla
US DISTRICT COURT

